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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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11
     JAMES McCARVER, an individual, and CASE NO: 5:19-cv-00714-JAK-KK
12   DIANNA McCARVER, an individual,
                                        ORDER GRANTING
13
             Plaintiffs,                STIPULATION FOR DISMISSAL
14                                      WITH PREJUDICE
     v.
15

16   CREDIT ONE BANK,
17
                Defendant.
18

19

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          Having    considered   Plaintiffs   JAMES   McCARVER       and       DIANNA
21
     McCARVER and Defendant CREDIT ONE BANK’ Stipulation for Dismissal, the
22
     above entitled action is hereby dismissed with prejudice. Each party shall bear
23
     their own costs and expenses.
24
          IT IS SO ORDERED.
25

26   Dated: March 24, 2020       _________________________________
                                      John A. Kronstadt
27
                                      United States District Judge
28
